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MITCHELL D. GLINER, ESQ.

Nevada Bar #003419

3017 West Charleston Blvd., #95
Las Vegas, NV 89102

(702) 870-8700

(702) 870-0034 Fax

Attorney for Plaintiff

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

GEORGE HIBBELER,

Plaintiff,
No.
vs.

FASLO SOLUTIONS LLC,

a foreign Limited Liability Co.
and PENNCRO ASSOCIATES, INC.,

a foreign corporation

 

Defendants.
JURY DEMANDED
COMPLAINT
JURISDICTION
1. The jurisdiction of this Court attains pursuant to the

FDCPA, 15 U.S.C. § 1692k(d), 28 U.S.C. § 1331, 28 U.S.C. § 1332,
and the doctrine of supplemental jurisdiction. Venue lies in the
Southern Division of the Judicial District of Nevada as Plaintiff's

claims arose from acts of the Defendants perpetrated therein.

PRELIMINARY STATEMENT
2. This action is instituted in accordance with and to
remedy Defendants’ violations of the Federal Fair Debt Collection
Practices Act, 15 U.S.C § 1692 et seq. (hereinafter "FDCPA"), and

of related state law obligations brought as supplemental claims

hereto.

 
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3. In 2009 Defendants initiated a campaign of abusive,
unfair, unreasonable, and unlawful debt collection activity
directed against Plaintiff in Las Vegas, Nevada.

4. As a result of these and other violations of law,
Plaintiff seeks hereby to recover actual and statutory damages

together with reasonable attorney's fees and costs.

PARTIES

5. Plaintiff, George Hibbeler, is a natural person who
resides in Las Vegas, Nevada, and is a "consumer" as defined by 15
U.S.C. Section 1692a(3) and allegedly owes a "debt" as defined by
15 U.S.C. Section 1692a(5).

6. Defendant, Fasle Solutions LLC (Faslo), is a foreign
Limited Liability Company, the principal purpose of whose business
is the collection of debts, operating a debt collection agency from
its principal place of business in Westlake, TX, and regularly
collects or attempts to collect debts owed or due or asserted to be
owed or due another, and is a "debt collector" as defined by 15
U.S.C. Section 1692a(6).

7. The Defendant Penncro Associates, Inc., is foreign
corporation, the principal purpose of whose business is the
collection of debts, operating a debt collection agency from its
principal place of business in Southampton, PA, and regularly
collects or attempts to collect debts owed or due or asserted to be
owed or due another, and is a “debt collector” as defined by 15

U.S.C. Section 1692a(6).

 

 

 
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FACTUAL ALLEGATIONS

8. Plaintiff repeats, realleges and asserts all factual
allegations contained in the preliminary statement to this
Complaint and reasserts them as incorporated in full herein.

9. Plaintiff does not owe the alleged debt underlying this
action.

10. The alleged debt corresponds to a real estate mortgage
provided by Plaintiff to the original mortgagee, IndyMac Bank.

11. Plaintiff settled this account with IndyMac during March,
2009.

12. IndyMac currently reports this account on Plaintiff's
credit profiles as a settled real estate mortgage.

13. On June 9, 2009, Faslo dunned Plaintiff for $65,000.00
(Exhibit 1).

14. On June 23, 2009, Plaintiff wrote Faslo advising of his
refusal to pay (Exhibit 2).

15. Plaintiff's written refusal to pay required Defendant to
cease and desist all collection communications in accordance with
FDCPA § 1692c(c):

(c) Ceasing communication - If a consumer
notifies a debt collector in writing that the
consumer refuses to pay a debt or that the
consumer wishes the debt collector to cease
further communication with the consumer, the
debt collector shall not communicate further
with the consumer with respect to such debt.

16. Faslo received Exhibit 2 on June 26, 2009, (Exhibit 3).

 

 
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17. Notwithstanding, on July 6, 2009, Defendants dunned
Plaintiff for $65,616.23 in violation of FDCPA §§ 1692c(c), 1692d,
1692e, 1692e(2) (A) and 1692e(10) (Exhibit 4).

18. Defendants’ attempts to collect ona satisfied debt was
in violation of both FDCPA §§ 1692e(2) (A) and (10) and FDCPA
§ 1692f£. Kimber v. Federal Financial Corp., 668 F. Supp. 1480,
1487-89 (M.D. Ala. 1987).

19. The foregoing acts and omissions of Defendants were
undertaken by them willfully, maliciously, and intentionally,
knowingly, and/or in gross or reckless disregard of the rights of
Plaintiff.

20. Indeed, the foregoing acts and omissions of Defendants
were undertaken by them indiscriminately and persistently, as part
of their regular and routine debt collection efforts, and without
regard to or consideration of the identity or rights of Plaintiff.

21. As a proximate result of the foregoing acts and omissions
of Defendants, Plaintiff has suffered actual damages and injury,
including, but not limited to, stress, humiliation, mental anguish
and suffering, and emotional distress, for which Plaintiff should
be compensated in an amount to be proven at trial.

22. As a result of the foregoing acts and omissions of
Defendants, and in order to punish Defendants for their outrageous
and malicious conduct, as well as to deter them from committing
Similar acts in the future as part of their debt collection
efforts, Plaintiff is entitled to recover punitive damages in an

amount to be proven at trial.

 
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CAUSES OF ACTION
COUNT I
23. The foregoing acts and omissions of Defendants constitut¢
violations of the FDCPA, including, but not limited to, Sections
1692c, 1692d, 1692e, 1692f and 1692g.
24. Plaintiff is entitled to recover statutory damages,

actual damages, reasonable attorney's fees, and costs.

COUNT II

25. The foregoing acts and omissions of Defendants constitute
unreasonable debt collection practices in violation of the doctrine
of Invasion of Privacy. Kuhn v. Account Control Technology, Inc.,
865 F. Supp. 1443, 1448-49 (D. Nev. 1994); Pittman v. J. J. Mac
Intyre Co. of Nevada, Inc., 969 F. Supp. 609, 613-14 (D. of Nev.
1997).

26. Plaintiff is entitled to recover actual damages as well
as punitive damages in an amount to be proven at trial.

JURY DEMANDED

Plaintiff hereby demands trial by a jury on all issues so
triable.

WHEREFORE, Plaintiff prays that this Honorable Court grant the

following relief:

1. Award actual damages.

2. Award punitive damages.

3. Award statutory damages of $1,000 pursuant to 15 U.S.C.
§ 1692k.

4. Award reasonable attorney fees.

5. Award costs.

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Grant such other and further relief as it deems just and

    

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MITCHELL D. GLINER, ESQ.
Nevada Bar #003419

3017 West Charleston Boulevard
Suite 95

Las Vegas, NV 89102

Attorney for Plaintiff

 
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JUN-14-2089 23€2856 219-cv-01275-JCM-LRL Documenti1 Filed o7/AH69 Page 7 of 11

Faslo Solutions LLC
1 First American Way, Westlake, TX 76262

Client Name: OneWest Bank Group LLC xJune 9, 2009
Client Account #: 1008561340

Faslo Account #: 140198

Current Balance: $65,616.23 %

Dear GEORGE HIBBELER III,

Please be advised that Faslo Solutions LLC represents OneWest Bank Group LLC. Our records
indicate that your account is seriously past due. We realize not paying this account may have been
an oversight and not an intentional disregard of an obligation.

To discuss this matter further, please contact us at 1-866-605-3589. Our office hours are Monday
through Thursday 8:00 a.m. to 9:00 p.m.: Friday 8:00 a.m. to 5:00 p.m. Eastern Standard Time.

THIS COMMUNICATION IS FROM A DEBT COLLECTOR. THIS IS AN ATTEMPT
TO COLLECT A DEBT. ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.

NOTICE OF IMPORTANT RIGHTS

The statutes pertaining to debt collection practices give you 30 days after you receive this letter to
dispute the validity of the debt stated above or any part of it. If you do not dispute the debt or any
part of it within 30 days of receiving this letter, Fasio Solutions LLC will assume that the debt is valid.
If you do dispute the debt or any part of it, you may inform Faslo Solutions in writing that you dispute
the debt. If that occurs, Faslo Solutions LLC will, as required by law, obtain and mail to you proof of
the debt. Further, if you request in writing the name and address of the original creditor within the
same 30 day period, if the original creditor is different from the current creditor, Faslo Solutions LLC
will furnish you with that information as well.

The law does not require the creditor to wait until the end of the 30 day period before exercising
against you its rights under the note or agreement. If, however, you request proof of the debt or the
name and address of the original creditor within the 30 day period that begins with your receipt of this
letter, the law requires Faslo Solutions LLC to suspend any efforts to collect the debt until the
requested information is mailed to you.

DEPT 288 June 9, 2009

PO BOX 4115

CONGORD CA 94524 Client Name: OneWest Bank Group LLC
Client Account #: 1008561340

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Current Balance: $65,616.23
ADDRESS SERVICE REQUESTED

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GEOAGE HIBBELER tl Fasio Solutions LLC

674 TAM O SHANTER
PO BOX 202166
LAS VEGAS NV 89109-010
; senewwe’ DALLAS, TX 75320-0001

EXHIBIT | oenecnmonsen
Case 2:09-cv-01275-JCM-LRL Document1 Filed 07/15/09 Page 8 of 11

June 23, 2009

AIL STE
Faslo Solutions LLC

i First American Way

Westlake, IX 76262

   
  

Dear Sir:

I acknowledge your enclosed June 9,

I do not like you and refuse to Dp

George Hibbeler
Enclosure

EXHIBIT Z
 

Case 2:09-cv-01275-JCM-LRL Document1 Filed 07/15/09 Page 9 of 11

JUN- 14-2089 23:52 From.

To:B.. 334 PaseiS’S

Faslo Solutions LLC
1 First American Way, Westlake, TX 76262

Client Name: OneWest Bank Group LLC = June 9, 2009
Client Account # 1008561340 mA

Fasio Account #: 140198

Current Balance: $65,616.23 ~

Oear GEORGE HIBBELER II,

Please be advised that Fasto Solutions LLC represents OneWest Bank Group LLC. Our records
Indicate that your account is seriously past due. We realize nct.paying this account may have been
an oversight and not-an intentional disregard of an obligation.

To discuss this matier further, please contact us at 1-866-605-3589. Our office hours are Monday
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part-of it within 30 days of receiving this letter, Fasio Solutions LLC will assume that the debt is valid.
It you do dispute the-debt or any part of it, you may inform Faslo Solutions in. writing that you dispute
the debt. If that occurs, Faslo Solutions LLC will, as required by (aw, obtain and mail to you proof of
the debt. Further, it.you request in writing the name and address of the original creditor within the
same 30 day period, if the original-creditor is different from the current creditor, Faslo Solutions LLC
will furnish you With that information as well.

The law does not require the creditor to wait until the end of the 30 day period before exercising
against you its rights under the note or agreement. If, however, you request proof of the debt or the
name and address of the. original creditor within the 30 day period that begins with your receipt of this
letter, the law requires Fasio Solutions LLC to suspend any efforts to collect the debt until the
requested information is mailed to you.

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DEPT 2n8 June 9, 2009
PO BOX 4145

‘CONCORD CA 94524

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CllentName; OneWest Bank Group LLC
Client Account #: 1008561340

Faslo Ancount #: 140196

Current Balance: $65.816,29

ADDRESS SERVICE REQUESTED

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GEORGE HIBBELER ay Fasto Solutions LLC

PO BOX 202166

LAS VEGAS NV 89109-0103
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Track & Confirm

Search Results

Label/Receipt Number: 7005 2570 0000 3475 9822
Service(s): Certified Mail™
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* Delivered, June 26, 2009, 8:40 am, ROANOKE, TX 76262
« Arrival at Unit, June 26, 2009, 7:44 am, ROANOKE, TX 76262
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Get current event information or updates for your item sent to you or others by email. “Go> }
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EXHIBIT 4

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OAKS, PA 19456 NAME: GEORGE HIB III
EAU REE 00 CLAIM#: ——DVATS7

CREDITOR: FASLO SOLUTIONS
REGARDING: OneWest banx Group LL
ACCOUNT #: 140198 «

OFFICE HOURS: MON - THU: 8AM - 9PM EST;
FRI: 8AM - 5PM;SAT: 8AM -12 PM EST

cJul 6, 2009
$65616.23

ley George Hib lii
2 674 Tam O Shanter
Las Vegas, NV 89109-0103

 

 

 

 

rt

The above referenced debt has been placed with our office for collection.
We must receive paymentin full.

Piease make your check or money order for the above balance payable to FASLO SOLUTIONS and mail
it to our office in the return envelope provided.

Sincerely,
Penncro Associates
886-574-2882

Unless you notify this office within 30 days after receiving this notice that you dispute the validity of this
debt or any portion thereof, this office will assume this debt is valid. If you notify this office in writing
within 30 days from receiving this notice, that you dispute the validity:of this debt or any portion thereof,
this office will obtain verification of the debt or obtain a copy of a judgment, if‘one exists; and mail you a
copy of such judgment or verification. If you request this office in writing within 30 days. after raceiving
this notice; this office will provide you with the name and address of the original creditor, if different from
the current creditor.

This communication is from:a debt collector. This is an attempt to-collect a debt and any information
obtained will be.used for that purpose.

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STATEMENT OF ACCOUNT

NAME: GEORGE HIB III
CLAIM #: DV4757

REGARDING: OneVWest Bank Group LLC
ACCOUNT #: 140198

FOR QUESTIONS CALL: 866-574-2882
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EXHIBIT 4

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